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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                   ALEXANDRIA DIVISION


 V.M.L, A MINOR CHILD, ET AL                *      CASE NO. 1:25-CV-00550 SEC. P
                                            *
 VERSUS                                     *      DISTRICT JUDGE DOUGHTY
                                            *
 MELLISSA B. HARPER, ET AL                  *      MAGISTRATE JUDGE PEREZ-MONTES


                                             ORDER

        Considering the Motion to Substitute Counsel of Record filed on behalf of Defendants, in

 this proceeding,

        IT IS HEREBY ORDERED that said motion is GRANTED, and that Karen J. King,

 Assistant United States Attorney, Western District of Louisiana, and Alanna T. Duong, U.S.

 Attorney for the Office of Immigration Litigation are SUBSTITUTED as counsel of record in

 place of Joseph McCarter and Bichngoc T. Do, on behalf of Defendants in this proceeding.



        THUS DONE AND SIGNED this _____ day of ___________________, 2025, at

 __________________, Louisiana.




                                            ________________________________________
                                            HONORABLE TERRY A. DOUGHTY
                                            CHIEF UNITED STATES DISTRCT JUDGE
